Case 6:13-cv-00626-RWS Document 95 Filed 11/17/16 Page 1 of 2 PageID #: 491



                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION

UNILOC USA, INC. and UNILOC                       §
LUXEMBOURG S.A.                                   §
                                                  §      CIVIL CASE NO. 6:13-cv-626-RWS
         Plaintiffs,                              §      Consolidated Lead Case
                                                  §
v.                                                §      JURY TRIAL DEMANDED
                                                  §      Member Case No. 6:14-cv-422-RWS
AVG TECHNOLOGIES USA, INC.,                       §
                                                  §
         Defendant.                               §




               JOINT STIPULATION FOR ENTRY OF ORDER OF DISMISSAL

                 Plaintiffs Uniloc USA, Inc. and Uniloc Luxembourg S.A. (“Uniloc”) and

 Defendant Code42 Software, Inc. (“Code42”) stipulate, subject to the approval of the Court,

 that:

          1.     Any and all claims and/or counterclaims by Uniloc and Code42 against one

 another are dismissed with prejudice from the lead case and member case.

         2.      Uniloc and Code42 shall each bear their own attorney’s fees, expenses and costs.

         3.      Uniloc’s complaint as to all other defendants is not impacted by this stipulation

                 and dismissal.




Dated: November 17, 2016                       Respectfully submitted,


                                               By: /s/James L. Etheridge
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Case 6:13-cv-00626-RWS Document 95 Filed 11/17/16 Page 2 of 2 PageID #: 492



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                            CERTIFICATE OF SERVICE

      I certify that the foregoing document was served upon all counsel of record via the

Court's CM/ECF electronic filing system in accordance with the Federal Rules of Civil

Procedure on November 17, 2016.


                                               /s/ James L. Etheridge
                                               James L. Etheridge
